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                  UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RANDY VASQUEZ,

             Plaintiff,
      v.                                Case No.: 2:12-cv-5174-PD

NCO FINANCIAL SYSTEMS, INC.

             Defendant.



                          SATISFACTION OF JUDGMENT

      Kindly mark the judgment and demand for fees and costs in this matter as

SATISFIED. It is certified that there are no outstanding executions with any

Sheriff or Marshall.

      THEREFORE, full and complete satisfaction of said judgment is hereby

acknowledged and the Clerk of Courts is hereby authorized and directed to make

an entry of the full and complete satisfaction on the docket of said judgment.



      Dated: January 9, 2013                 /S/ Craig Thor Kimmel
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